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Captain M. Earwin
U.S.P. Florence
P.O. pox 7500
Florence, CO. 81226


Office of the Pardon Attorney
145 N Street, N.E.
Room 5E, 503
Washington, D.C. 20530


RE: Jawad Amir Nusa, Reg. No. 28075-037


To Whom It May Concern:
     I am the Captain of U.S.P. Florence and I am writing in support
of Jawad's application for clemency. I know Jawed to be a mature,
middle aged man who has lived according to the prison rules for a
long time. He is a positive force here, mentoring younger prisoners,
and participating in many educational and vocational programs. He
spends most of his time in the law library. I am confident that if
granted clemency Jawad would quickly become a productive member of
Society. He has served a sufficiently long sentence and deserves
the chance to re-unite with his family.


Yours,


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Captain M. Earwin




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